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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

OUYEINC LTD.,
                                                 Case No. 20 cv 3591
                      Plaintiff,

       v.

NaturalRays-Official and et al.,

                      Defendants.



                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Ouyeinc Ltd.

(“Ouyeinc” or “Plaintiff”) hereby dismisses this action with prejudice pursuant to settlement as

to the following Defendants:

              Defendant Name                                       Line No.

                  CCbeauty                                             55

                  CoooStar                                             57

               Afternoon Life                                          49

                  powermup                                             77



DATED September 14, 2020                            Respectfully submitted,

                                                    /s/ James A. Karamanis
                                                    James A. Karamanis
                                                    Barney & Karamanis, LLP
                                                    Two Prudential Plaza
                                                    180 N. Stetson, Ste 3050
                                                    Chicago, IL 60601
                                                    Tel.: 312/553-5300
                                                    Attorney No. 6203479
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                                        James@bkchicagolaw.com

                                        ATTORNEY FOR PLAINTIFF Ouyeinc Ltd.
